 Case 3:19-bk-30822        Doc 108    Filed 10/11/19 Entered 10/11/19 14:47:50             Desc Main
                                     Document      Page 1 of 3



                            UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                              WESTERN DIVISION AT DAYTON

                                                *
  In re: Tagnetics, Inc.                        *       Case No. 19-30822
                                                *
                                                *       Judge Humphrey
                                                        Chapter 7


                               TAGNETICS, INC.’S EXHIBIT LIST


           Alleged Debtor Tagnetics, Inc. (“Tagnetics”), pursuant to the Court’s Scheduling Order

  (ECF No. 99), files its exhibit list for the evidentiary hearing on its Motion to Enforce Settlement

  Agreement.

DESIGNATION                      DESCRIPTION                      IDENTIFIED            ADMITTED
                    Emails between Remaining Petitioning
      A             Creditors and Stephen Stern re: Potential
                    Settlement and Settlement Term Sheet
                    8/14/19 Stern email to Remaining
      B             Petitioning Creditors with attached
                    Settlement Agreement and Mutual General
                    Release
                    Emails between Hager and Stern re:
      C             Settlement Agreement – Requested
                    Changes
                    Emails between Stern and Earley re:
      D             Settlement Agreement and Requested
                    Changes
                    Declaration of Luis A. Fernandez
      E

                    Email between Earley and Stern re:
       F            Settlement Agreement – Requested
                    Changes
                    Emails between Remaining Petitioning
      G             Creditors and Stern re: Settlement
                    Agreement – Requested Changes


  {01371181-1}
Case 3:19-bk-30822      Doc 108    Filed 10/11/19 Entered 10/11/19 14:47:50        Desc Main
                                  Document      Page 2 of 3



                 Redacted Settlement Agreement between
     H           Tagnetics and Kayser Ventures, Ltd., S-
                 Tek, Inc. and Robert Strain
                 Emails between Remaining Petitioning
     I           Creditors and Stern re: Potential Settlement
                 and Settlement Term Sheet




                                     Respectfully submitted,


        /s/ Stephen B. Stern                        /s/ Robert R. Kracht
 Stephen B. Stern, Admitted Pro Hac Vice            Robert Kracht (#0025574)
 Kagan Stern Marinello & Beard, LLC                 McCarthy, Lebit, Crystal & Liffman Co., LPA
 238 West Street                                    101 W. Prospect Avenue, Suite 1800
 Annapolis, Maryland 21401                          Cleveland, Ohio 44115
 (410) 216-7900 – Telephone                         (216) 696-1422 – Telephone
 (410) 705-0836 – Facsimile                         (216) 696-1210 – Facsimile
 stern@kaganstern.com (email)                       rrk@mccarthylebit.com (email)

 Counsel for Alleged Debtor                         Counsel for Alleged Debtor
 Tagnetics, Inc.                                    Tagnetics, Inc.




                                           {01371181-1}2
Case 3:19-bk-30822        Doc 108     Filed 10/11/19 Entered 10/11/19 14:47:50              Desc Main
                                     Document      Page 3 of 3



                                  CERTIFICATE OF SERVICE

         I hereby certify that on October 11, 2019, a copy of the foregoing Exhibit List was served
 (i) electronically on the date of filing through the Court’ s ECF System on all ECF participants
 registered in this case at the email address registered with the court and (ii) electronically by email
 on counsel for Tagnetics, Inc., Stephen Stern, Esq. (Stern@kaganstern.com), Douglas Draper, Esq.
 (ddraper@hellerdraper.com) and Leslie Collins, Esq. (lcollins@hellerdraper.com), and (iii) by
 ordinary U.S. Mail on October 11, 2019 addressed to:

 Kenneth W Kayser
 PO Box 115
 Catawba, VA 24070

 Ronald E. Early
 6429 Winding Tree Drive
 New Carlisle, OH 45344

 Jonathan Hager
 842 Paint Bank Road
 Salem, VA 24153

 MaryAnne Wilsbacher
 Office of the United States Trustee
 170 North High Street
 Suite 200
 Columbus, Ohio 43215


                                                                /s/ Robert R. Kracht
                                                                Robert R. Kracht (#0025574)




                                             {01371181-1}3
